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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:05CR3143
           v.                        )
                                     )
LISA MCGINN,                         )
                                     )                    ORDER
                Defendants.          )
                                     )




     Attorney Carlos A. Monzon has entered his appearance for
defendant Lisa McGinn in this matter.

     IT THEREFORE HEREBY IS ORDERED,

     The motion of Franklin E. Miner to withdraw as counsel for
defendant Lisa McGinn, filing 23, is granted.


     DATED this 16th day of March, 2006.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
